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From:               Bungie
To:                 reportcontactform
Subject:            Internal DPS Email: CHEATING REPORT
Date:               Tuesday, January 7, 2020 8:34:47 AM




Bungie.net User 20612382: Gladiator (20612382)

Profile Link: http://www.bungie.net/en/Profile/254/20612382

Destiny TigerSteam Membership Id: 4611686018484760766, Display Name: Gladiator_LoQuito_Бум


Submitted Name: Gladiator

Submitted Platform: PS4

Submitted answer to Question 1: "What specific behavior did you see that you believe to be cheating?"
PVP Cheaters... When u will stop that cheats in online game ?...Just please

Submitted answer to Question 2: "If possible, please provide the URL of a video or other media showing what you
experienced."
https://www.aimjunkies.com/cheats-hacks-aimbot/destiny-2

Submitted answer to Question 3: "If possible, please provide a link to the post-game results for the match you are
reporting."
https://www.aimjunkies.com/cheats-hacks-aimbot/destiny-2
